






Opinion issued December 1, 2006










In The

Court of Appeals

For the

First District of Texas

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NO. 01-06-00121-CV

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IN RE MHI PARTNERSHIP, LTD., Relator






Original Proceeding on Petition for Writ of Mandamus






MEMORANDUM OPINION	Relator MHI Partnership, Ltd. filed a petition for a writ of mandamus
complaining of Judge Lindsay's January 13, 2006 order denying relator's motion to
compel arbitration. (1)


	We deny the petition of a writ of mandamus.


PER CURIAM

Panel consists of Justices Taft, Keyes, and Hanks.
1.            
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